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    1   Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
        mseltzer@susmangodfrey.com               hlanger@langergrogan.com
    2   SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
        1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
    3   Los Angeles, CA 90067-6029               Philadelphia, PA 19103
        Phone: (310) 789-3100                    Tel: (215) 320-5660
    4   Fax: (310) 789-3150                      Fax: (215) 320-5703
    5   Scott Martin (Pro Hac Vice)
        smartin@hausfeld.com
    6   HAUSFELD LLP
        33 Whitehall Street, 14th Floor
    7   New York, NY 10004
        Tel: (646) 357-1100
    8   Fax: (212) 202-4322
    9
        [Additional Counsel on Signature Page]
   10
        Plaintiffs’ Co-Lead Counsel
   11

   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 JOINT STIPULATION TO
   17                                            SUPPLEMENT THE TRIAL
                                                 RECORD WITH VIDEOS PLAYED
   18                                            FOR IMPEACHMENT PURPOSES
   19   THIS DOCUMENT RELATES TO                 JUDGE: Hon. Philip S. Gutierrez
        ALL ACTIONS
   20                                            COURTROOM: First Street Courthouse
                                                            350 West 1st Street
   21                                                       Courtroom 6A
                                                            Los Angeles, CA 90012
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    1          WHEREAS, a jury trial commenced in this action on June 5, 2024;
    2          WHEREAS, Plaintiffs have played videos at various times during witness
    3   trial testimony for impeachment purposes;
    4          WHEREAS, the content of videos is, as a general practice, not transcribed
    5   into the transcript of the trial proceedings;
    6          WHEREAS, the Court previously instructed the parties, to the extent they
    7   desire to include the content of videos in the trial record, to confer and stipulate to
    8   supplement the record with the portions of the videos that were played at trial; and
    9          WHEREAS, counsel for Plaintiffs and the NFL Defendants have conferred
   10   and agreed that the attachments to this stipulation reflect the content of the videos
   11   described below;
   12          NOW THEREFORE, Plaintiffs and the NFL Defendants, by and through
   13   their respective counsel, hereby stipulate and agree, subject to the Court’s approval,
   14   to the following:
   15          1)     The documents attached hereto accurately reflect the following videos
   16   that are identified on the trial transcript:
   17                 a)     Attachment 1 – the video played for impeachment purposes
   18                        during the trial testimony of Lawrence Jones on June 10, 2024
   19                        identified on the trial transcript at page 512, line 17 (deposition
   20                        53:14-53:21);
   21                 b)     Attachment 2 – the video played for impeachment purposes
   22                        during the trial testimony of Lawrence Jones on June 10, 2024
   23                        identified on the trial transcript at page 527, line 22 (deposition
   24                        47:16-48:06);
   25                 c)     Attachment 3 – the video played for impeachment purposes
   26                        during the trial testimony of Brian Rolapp on June 12, 2024
   27                        identified on the trial transcript at 1044:4 (highlighted portions
   28                        only);
               2)     The trial record should be supplemented to reflect the content of the
                                                       2
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    1   videos that were played to the jury as outlined above.
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           Dated: June 20, 2024                Respectfully submitted,
    4

    5                                          By:      /s/ Marc M. Seltzer
                                                        Marc M. Seltzer
    6
                                                      Marc M. Seltzer (54534)
    7                                                 mseltzer@susmangodfrey.com
                                                      Kalpana Srinivasan (237460)
    8                                                 ksrinivasan@susmangodfrey.com
                                                      Amanda Bonn (270891)
    9                                                 abonn@susmangodfrey.com
                                                      SUSMAN GODFREY L.L.P.
   10                                                 1900 Avenue of the Stars, Suite 1400
                                                      Los Angeles, CA 90067
   11                                                 Tel: (310) 789-3100
                                                      Fax: (310) 789-3150
   12
                                                      William C. Carmody (Pro Hac Vice)
   13                                                 bcarmody@susmangodfrey.com
                                                      Seth Ard (Pro Hac Vice)
   14                                                 sard@susmangodfrey.com
                                                      Tyler Finn (Pro Hac Vice)
   15                                                 tfinn@susmangodfrey.com
                                                      SUSMAN GODFREY L.L.P
   16                                                 One Manhattan West
                                                      New York, NY 10001
   17                                                 Tel: (212) 336-8330
                                                      Fax: (212) 336-8340
   18
                                                      Ian M. Gore (Pro Hac Vice)
   19                                                 igore@susmangodfrey.com
                                                      SUSMAN GODFREY L.L.P.
   20                                                 401 Union Street, Suite 3000
                                                      Seattle, WA 98101
   21                                                 Tel: (206) 505-3841
                                                      Fax: (206) 516-3883
   22
                                                      Scott Martin (Pro Hac Vice)
   23                                                 smartin@hausfeld.com
                                                      HAUSFELD LLP
   24                                                 33 Whitehall Street, 14th Floor
                                                      New York, NY 10004
   25                                                 Tel: (646) 357-1100
                                                      Fax: (212) 202-4322
   26
                                                      Christopher L. Lebsock (184546)
   27                                                 clebsock@hausfeld.com
                                                      Samuel Maida (333835)
   28                                                 smaida@hausfeld.com
                                                      HAUSFELD LLP
                                                      600 Montgomery St., Suite 3200
                                                  3
Case 2:15-ml-02668-PSG-SK Document 1446 Filed 06/20/24 Page 4 of 5 Page ID #:52761



                                                  San Francisco, CA 94111
    1                                             Tel: (415) 633-1908
                                                  Fax: (415) 633-4980
    2
                                                  Sathya S. Gosselin (269171)
    3                                             sgosselin@hausfeld.com
                                                  Farhad Mirzadeh (Pro Hac Vice)
    4                                             fmirzadeh@hausfeld.com
                                                  HAUSFELD LLP
    5                                             888 16th Street, N.W., Suite 300
                                                  Washington, DC 20006
    6                                             Tel: (202) 540-7200
                                                  Fax: (202) 540-7201
    7
                                                  Howard Langer (Pro Hac Vice)
    8                                             hlanger@langergrogan.com
                                                  Edward Diver (Pro Hac Vice)
    9                                             ndiver@langergrogan.com
   10
                                                  Peter Leckman (235721)
                                                  pleckman@langergrogan.com
   11
                                                  Kevin Trainer (Pro Hac Vice)
                                                  ktrainer@langergrogan.com
   12
                                                  LANGER GROGAN AND DIVER PC
                                                  1717 Arch Street, Suite 4020
   13
                                                  Philadelphia, PA 19103
                                                  Tel: (215) 320-5660
   14
                                                  Fax: (215) 320-5703

   15                                             Plaintiffs’ Co-Lead Counsel
   16
                                                  /s/ Beth A. Wilkinson
   17                                             Beth A. Wilkinson (admitted pro hac vice)
   18                                             Brian L. Stekloff (admitted pro hac vice)
                                                  Rakesh N. Kilaru (admitted pro hac vice)
   19                                             Jeremy S. Barber (admitted pro hac vice)
   20                                             Max J. Warren (admitted pro hac vice)
                                                  WILKINSON STEKLOFF LLP
   21                                             2001 M Street NW, 10th Floor
   22                                             Washington, DC 20036
                                                  Telephone: (202) 847-4000
   23                                             Facsimile: (202) 847-4005
   24                                             bwilkinson@wilkinsonstekloff.com
                                                  bstekloff@wilkinsonstekloff.com
   25
                                                  rkilaru@wilkinsonstekloff.com
   26                                             jbarber@wilkinsonstekloff.com
                                                  mwarren@wilkinsonstekloff.com
   27

   28                                             Neema T. Sahni (Bar No. 274240)
                                                  COVINGTON & BURLING LLP
                                              4
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                                                       1999 Avenue of the Stars
    1
                                                       Suite 1500
    2                                                  Los Angeles, CA 90067-6045
    3
                                                       Telephone: (424) 332-4800
                                                       Facsimile: (424) 332-4749
    4                                                  nsahni@cov.com
    5
                                                       Gregg H. Levy (admitted pro hac vice)
    6                                                  Derek Ludwin (admitted pro hac vice)
    7
                                                       John S. Playforth (admitted pro hac vice)
                                                       COVINGTON & BURLING LLP
    8                                                  One CityCenter
    9
                                                       850 Tenth Street NW
                                                       Washington, DC 20001
   10                                                  Telephone: (202) 662-6000
   11                                                  Facsimile: (202) 662-6291
                                                       glevy@cov.com
   12                                                  dludwin@cov.com
   13                                                  jplayforth@cov.com

   14                                                  Counsel for Defendants National Football
   15                                                  League, NFL Enterprises LLC, and the
                                                       Individual NFL Clubs
   16

   17
        All signatories listed, and on whose behalf the filing is submitted, concur in the
   18   filing’s content and have authorized the filing.
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